             Case 2:09-cr-00356-LKK Document 31 Filed 03/04/10 Page 1 of 3


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   CARO MARKS, Bar #15927
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700

 5
     Attorney for Defendant
 6   RUBEN ACOSTA-LUGO

 7
 8
                               UNITED STATES DISTRICT COURT
 9
                             EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,       )       No. 09-CR-356 LKK
13                                   )
                 Plaintiff,          )       STIPULATION AND ORDER TO CONTINUE
14                                   )       BRIEFING SCHEDULE AND EVIDENTIARY
       v.                            )       HEARING
                                     )
15   RUBEN ACOSTA LUGO, and          )       Date: May 18, 2010
     GUADALUPE ALBERTO VELARDE       )       Time: 9:15 a.m.
16   ROCHIN,                         )       Judge: Hon. Lawrence K. Karlton
                                     )
17               Defendants.         )
     _______________________________ )
18
           The United States of America, through Todd Leras, Assistant United
19
     States Attorney, together with defendants, Ruben Acosta-Lugo and
20
     Guadalupe Alberto Velarde Rochin, through their counsel, Caro Marks,
21
     AFD, and Lori Teichert, Esq.,       request that the court vacate the
22
     briefing schedule and evidentiary hearing and reset them as follows:
23
              OLD SCHEDULE                          NEW SCHEDULE
24
           Defendant’s motion         3/2/2010        4/13/2010
25
           Gov’t response             3/23/2010       5/4/2010
26
           Defendant’s reply          3/30/2010       5/11/2010
27
28
     Stipulation And Order/Acosta             1
             Case 2:09-cr-00356-LKK Document 31 Filed 03/04/10 Page 2 of 3


 1         HEARING ON MOTION          2/17/10          5/18/2010
 2         The reason for the continuance is to allow additional time for the
 3   defense to receive and study documents expected in response to
 4   subpoenas issued by the Office of the Federal Defender.            The
 5   outstanding subpoena request for which the defense awaits includes
 6   information vital to the pleadings and hearing on the anticipated
 7   motion to suppress.      The defense cannot proceed with its filing without
 8   first reviewing these documents, which it expects to receive sometime
 9   during the week of March 8, 2010.        Defense counsel starts a trial that
10   week and so the parties stipulate the filing dates should be amended as
11   provided above.
12         The parties request the court to set this case for an evidentiary
13   hearing on May 18, 2010.       The defense believes that after reading the
14   pleadings this court will thoroughly concur that the motion to suppress
15   cannot be resolved without an evidentiary hearing.
16         The parties agree that the Court should continue to exclude time
17   under the Speedy Trial Act; specifically, the court should make a
18   finding of excludable time from the date of this order through May 18,
19   2010, to allow the defense additional time to prepare, and to allow
20   continuity of counsel.
21         The parties further agree that the ends of justice served by
22   granting the parties’ request outweigh the best interest of the public
23   and the defendant in a speedy trial, and that for the purpose of
24   computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
25   within which trial must commence, the Court should exclude the noted
26   time period pursuant to § 3161(h)(7)(B)(iv), Local Code T4.
27
28
     Stipulation And Order/Acosta               2
             Case 2:09-cr-00356-LKK Document 31 Filed 03/04/10 Page 3 of 3


 1   Dated: March 3, 2010                     Respectfully submitted,
 2                                            DANIEL J. BRODERICK
                                              Federal Defender
 3
                                              /s/ Caro Marks
 4                                            ________________________________
                                              CARO MARKS
 5
 6
     Dated: March 3, 20101
 7
                                              /s/ Lori Teichert
 8                                            ______________________________
                                              LORI TEICHERT
 9
10
11
     Dated: March 3, 2010                     BENJAMIN WAGNER
12                                            United States Attorney
13                                            /s/ Todd Leras
14                                            TODD LERAS
                                              Assistant U.S. Attorney
15
16
17
                                         O R D E R
18
           IT IS SO ORDERED.
19
20
     Dated: March 4, 2010
21
22
23
24
25
26
27
28
     Stipulation And Order/Acosta             3
